947 F.2d 953
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Robert H. KETCHUM, Plaintiff-Appellant,v.FOOD AND DRUG ADMINISTRATION;  American, PsychiatricAssociation;  Postmaster General, United StatesPostal Service;  and United StatesPostal Service, Defendants-Appellees.
    No. 90-1358.
    United States Court of Appeals, Tenth Circuit.
    Oct. 15, 1991.
    
      Before STEPHEN H. ANDERSON, TACHA and BRORBY, Circuit Judges.
      ORDER AND JUDGMENT*
      TACHA, Circuit Judge.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The case is therefore ordered submitted without oral argument.
    
    
      2
      Plaintiff-Appellant Robert Ketchum appeals a district court order denying his motion to vacate the judgment below.   On appeal, Ketchum asserts that the district court should have granted the motion to vacate based on new evidence.   Petitioner has presented no new evidence that would support a motion to vacate.
    
    
      3
      Accordingly, we AFFIRM for substantially the reasons given by the magistrate and adopted by the district court in its judgment.
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
    
    